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                                    UNITED STATES DISTRICT COURT
                                      DISTRICT OF PUERTO RICO

      In re:

      THE FINANCIAL OVERSIGHT AND                                              PROMESA
      MANAGEMENT BOARD FOR PUERTO RICO,                                        Title III

                as representative of                                           No. 17 BK 3283-LTS

      THE COMMONWEALTH OF PUERTO RICO, et al.,                                 (Jointly Administered)

                               Debtors.1


       SECOND SUPPLEMENTAL DECLARATION OF STEVE M. ZELIN REGARDING
             DISINTERESTEDNESS OF PJT PARTNERS LP PURSUANT TO
          THE PUERTO RICO RECOVERY ACCURACY IN DISCLOSURES ACT

  I, Steve M. Zelin, hereby declare and state as follows:

               1.     I am a Partner, Global Head of the Restructuring & Special Situations Group, and

  a member of the management committee at PJT Partners LP (“PJT”), a global investment banking

  firm listed on the New York Stock Exchange with its principal offices in New York City. PJT is

  the investment banker and financial advisor working on behalf of the Financial Oversight and

  Management Board for Puerto Rico (the “Oversight Board”), as the sole Title III representative of

  the Commonwealth of Puerto Rico (the “Commonwealth”), the Puerto Rico Sales Tax Financing

  Corporation (“COFINA”), the Puerto Rico Highways and Transportation Authority (“HTA”), the




  1
       The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four
       (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto
       Rico (Bankruptcy Case No. 17-BK-3283- LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales
       Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284-LTS) (Last Four Digits of Federal
       Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17-BK-
       3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of
       the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566-LTS) (Last Four Digits of Federal
       Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17- BK-4780-LTS)
       (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy
       Case No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as
       Bankruptcy Case numbers due to software limitations).
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  Employees Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”),

  the Puerto Rico Electric Power Authority (“PREPA”), and the Puerto Rico Public Buildings

  Authority (“PBA,” and collectively with the Commonwealth, COFINA, HTA, ERS, and PREPA,

  the “Debtors”) pursuant to section 315(b) of the Puerto Rico Oversight, Management, and

  Economic Stability Act (“PROMESA”).2

             2.       On May 16, 2022, at my request, counsel to the Oversight Board filed the

  Declaration of Steve M. Zelin Regarding Disinterestedness of PJT Partners LP Pursuant to the

  Puerto Rico Recovery Accuracy in Disclosures Act (the “Initial Declaration”) [Docket No.

  20811].3

             3.       On July 19, 2022, at my request, counsel to the Oversight Board filed the

  Supplement Declaration of Steve M. Zelin Regarding Disinterestedness of PJT Partners LP

  Pursuant to the Puerto Rico Recovery Accuracy in Disclosures Act [Docket No. 21547].

             4.       I hereby submit this supplemental declaration to describe the below additional

  connections of PJT to the MIPs.


                  a. PJT has been engaged to provide financial advisory services to a group of creditors
                     of a company in a confidential matter. The members of such group include Angelo,
                     Gordon & Co., L.P., one of the MIPs. This connection is wholly unrelated to the
                     Oversight Board and this Title III Proceeding, and PJT does not believe that the
                     interests of the Debtors or their estates are adversely affected by such connection.

                  b. An affiliate of PJT has been engaged to provide financial advisory services to a
                     group of creditors of a company in a confidential matter. The members of such
                     group include an affiliate of Blackrock Advisors, LLC, one of the MIPs. This
                     connection is wholly unrelated to the Oversight Board and this Title III Proceeding,




  2
      PROMESA is codified at 48 U.S.C. §§ 2101–2241.
  3
      Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Initial
              Declaration.


                                                               2
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                 and PJT does not believe that the interests of the Debtors or their estates are
                 adversely affected by such connection.

              c. PJT has been engaged to provide financial advisory services to a group of lenders
                 to a company in a confidential matter. The members of such group include an
                 affiliate of Blackrock Advisors, LLC, one of the MIPs. This connection is wholly
                 unrelated to the Oversight Board and this Title III Proceeding, and PJT does not
                 believe that the interests of the Debtors or their estates are adversely affected by
                 such connection.

              d. PJT was previously engaged to provide financial advisory services to a group of
                 creditors of a certain company in a confidential matter. The members of such group
                 include Brigade Capital Management LP, one of the MIPs. This connection was
                 wholly unrelated to the Oversight Board and this Title III Proceeding, and PJT does
                 not believe that the interests of the Debtors or their estates are adversely affected
                 by such connection.

              e. An affiliate of PJT has been engaged to provide financial advisory services to a
                 group of creditors of a company in a confidential matter. The members of such
                 group include Citigroup Inc., one of the MIPs. This connection is wholly unrelated
                 to the Oversight Board and this Title III Proceeding, and PJT does not believe that
                 the interests of the Debtors or their estates are adversely affected by such
                 connection.

              f. PJT has been engaged to provide financial advisory services to a group of lenders
                 in a confidential matter. The members of such group include an affiliate of
                 Massachusetts Mutual Life Insurance Company, one of the MIPs. This connection
                 is wholly unrelated to the Oversight Board and this Title III Proceeding, and PJT
                 does not believe that the interests of the Debtors or their estates are adversely
                 affected by such connection.

              g. PJT has been engaged to provide financial advisory services to Monarch
                 Alternative Capital LP, one of the MIPs, in a confidential matter. This connection
                 is wholly unrelated to the Oversight Board and this Title III Proceeding, and PJT
                 does not believe that the interests of the Debtors or their estates are adversely
                 affected by such connection

              h. PJT has been engaged to provide financial advisory services to an affiliate of each
                 of Shell Trading (U.S.) Company and Shell plc, each of which is an MIP, in a
                 confidential matter. This connection is wholly unrelated to the Oversight Board and
                 this Title III Proceeding, and PJT does not believe that the interests of the Debtors
                 or their estates are adversely affected by such connection.

         5.      PJT has performed reasonable due diligence for possible connections with the

  MIPs. Given the large number of parties-in-interest in these Title III Proceedings, despite the



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  efforts to identify and disclose PJT’s relationships with the MIPs, I am unable to state with absolute

  certainty that every client relationship or other connection has been disclosed in this supplemental

  declaration. PJT, therefore, will conduct an ongoing review of its files to ensure that no conflicts

  or other disqualifying circumstances exist or arise. If any new material facts or relationships are

  discovered or arise, PJT will promptly file a supplemental declaration with the Court.

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

  and correct, to the best of my information, knowledge and belief.

   November 14, 2022



                                                        Steve M. Zelin

                                                        Steve M. Zelin
                                                        Partner
                                                        PJT Partners LP




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